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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
                                                                        :
Fanny Alava                                                             :
                                                                        :
                                              Plaintiff(s),             :     __ Civ. 7766
                                                                             22       _____ (LGS)
                            -v-                                         :
                                                                        :      CIVIL CASE
Kat's Delicatessen of Houston St. Inc. et al.                           :   MANAGEMENT PLAN
                                              Defendant(s).             :    AND SCHEDULING
                                                                        :         ORDER
 ---------------------------------------------------------------------- X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.                                                      X
        All parties [consent ______ / do not consent ______]  to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial. See
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.      The parties [have ______
                           X     / have not ______] conferred pursuant to Fed. R. Civ. P. 26(f).

3.      This case is governed by one of the following sets of rules, and the parties’ proposed
        dates in this order have been adjusted accordingly.

        a.       An employment case governed by the Initial Discovery Protocols for Employment
                 cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______
                        X     / No ______]

        b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                 Against the City of New York? https://nysd.uscourts.gov/rules.
                 [Yes ______ / No ______]
                                     X

        c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                 https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                 schofield
                 [Yes ______ / No ______]
                                     X

        d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                 Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______/
                       X      No________]



                                                                                  Revised October 14, 2021
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4.   Alternative Dispute Resolution/Settlement

     a.                                     X
              Settlement discussions [have ______ / have not ______] taken place.

     b.       Counsel for the parties have discussed an informal exchange of information in aid
              of early settlement and have agreed to exchange the following:
                 Plaintiff's personnel file; pay and time records
              __________________________________________________________________
              __________________________________________________________________
              __________________________________________________________________

     c.       Counsel for the parties have discussed the use of the following alternate dispute
              resolution mechanisms for use in this case: (i) a settlement conference before a
              Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
              retention of a private mediator. Counsel for the parties propose the following
              alternate dispute resolution mechanism for this case:
              __________________________________________________________________
                  Mediation Program, pursuant to the SDNY's Standing Order
              __________________________________________________________________
              __________________________________________________________________

     d.       Counsel for the parties recommend that the alternate dispute resolution
              mechanism designated in paragraph 4(c) be employed at the following point in the
              case (e.g., within the next 60 days; after the deposition of plaintiff is completed
              (specify date); after the close of fact discovery):
              __________________________________________________________________
                 After paper discovery is complete but before party depositions
              __________________________________________________________________
              __________________________________________________________________

     e.       The use of any alternative dispute resolution mechanism does not stay or
              modify any date in this Order.

5.   No additional parties may be joined after __________
                                                2/1/2023 without leave of Court.

6.   Amended pleadings may be filed without leave of Court until ______________.
                                                                  2/1/2023

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
     __________
         14         days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]

8.   Fact Discovery

     a.                                                             March 16, 2023
              All fact discovery shall be completed no later than ______________________.
              [A period not to exceed 120 days, unless the Court finds that the case presents
              unique complexities or other exceptional circumstances.]

     b.       Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
              be served by ______________________.
                                12/16/2022


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      c.       Responsive documents shall be produced by _________________.
                                                             1/20/2023
               Do the parties anticipate e-discovery? [Yes ______ / No ______]

      d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
               ______________________.
                   12/16/2022

      e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
               ______________________.
                  3/2/2023

      f.       Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
               ______________________.
                  3/9/2023

      g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
               written consent of all parties without application to the Court, provided that
               all fact discovery is completed by the date set forth in paragraph 8(a).

9.    Expert Discovery [if applicable]

      a.       Anticipated types of experts if any:
               _________________________________________________________________
                  None anticipated at this time
               _________________________________________________________________
               _________________________________________________________________

      b.       If you have identified types of experts in question 9(a), all expert discovery shall
               be completed no later than ______________________.
               [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
               discovery, absent exceptional circumstances.] Omit if you have not identified
               types of experts.

      c.       If you have identified types of experts in question 9(a), by _________ [no later
               than one month before the date in paragraph 8(a), i.e., the completion of all fact
               discovery] the parties shall meet and confer on a schedule for expert disclosures,
               including reports, production of underlying documents and depositions, provided
               that (i) expert report(s) of the party with the burden of proof shall be due before
               those of the opposing party’s expert(s); and (ii) all expert discovery shall be
               completed by the date set forth in paragraph 9(b).

10.   This case [is ______
                      X    / is not ______] to be tried to a jury.

11.   Counsel for the parties have conferred and their present best estimate of the length of trial
             5 days
      is ______________________.




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12.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below:
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________

13.    Status Letters and Conferences

       a.            1/16/2023 [60 days after the commencement of fact discovery], the parties
                By ___________
                shall submit a joint status letter, as outlined in Individual Rule IV.A.2.

       b.       By ______________
                      3/30/2023        [14 days after the close of fact discovery], the parties shall
                submit a joint status letter, as outlined in Individual Rule IV.A.2 and, in the event
                that they have not already been referred for settlement discussions, shall also
                advise the Court whether or not they request a referral for settlement discussions
                as provided in Paragraph 4(c) above.
                                             4:10 p.m.
                        April 12, 2023 at ______A.M.
       c.       On _______________                  ----- [usually 14 days after the close of all
                discovery], a pre-motion conference will be held for any anticipated dispositive
                motions, provided:

                    i. A party wishing to file a summary judgment or other dispositive motion
                       shall file a pre-motion letter at least two weeks before the conference and
                       in the form provided in the Court’s Individual Rule III.A.1. Any party
                       wishing to oppose shall file a responsive letter as provided in the same
                       Individual Rule. The motion will be discussed at the conference. To join
                       the conference, the parties shall call (888) 363-4749 and use Access Code
                       558-3333. The time of the conference is approximate, but the parties shall
                       be ready to proceed at that time.

                   ii. If no pre-motion letter is timely filed, this conference will be canceled
                       and the matter placed on the Court’s trial-ready calendar. The parties
                       will be notified of the assigned trial-ready date and the filing deadlines for
                       pretrial submissions. The parties are warned that any settlement
                       discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.



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        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar.



       SO ORDERED.

       November 9, 2022
Dated: _________________
       New York, New York
                                                      ____________________________________
                                                             LORNA G. SCHOFIELD
                                                            United States District Judge

Counsel for the Parties:


_________________________________                     _________________________________


_________________________________                     _________________________________

_________________________________                     _________________________________




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